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                                                                        2018 Mar-12 PM 07:07
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


              THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA


RAY CHARLES SCHULTZ, et al.,
    Plaintiffs,
v.
STATE OF ALABAMA, et al.,
    Defendants.


RANDALL PARRIS, et al.,
    Intervenor-Plaintiffs,
                                           Case No. 5:17-cv-00270-MHH
v.
                                                  (Class Action)
JUDGE MARTHA WILLIAMS, et al.,
    Intervenor-Defendants.


BRADLEY HESTER,
    Intervenor-Plaintiff,

v.

MATT GENTRY, et al.,
    Intervenor-Defendants


       PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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          Plaintiff Bradley Hester on behalf of himself and a proposed Class,1 hereby

moves the Court pursuant to Rule 65 of the Federal Rules of Civil Procedure for a

preliminary injunction related to Claims One and Two of the Complaint. Through

this Motion, Plaintiff seeks a preliminary injunction enjoining Sheriff Gentry from

prospectively jailing arrestees unable to pay secured monetary bail without an

individualized hearing with adequate procedural safeguards that include an inquiry

into and findings concerning their ability to pay, the suitability of alternative non-

financial conditions of release, and a finding on the record that there is clear and

convincing evidence that any conditions of release are the least restrictive

conditions necessary to achieve public safety and court appearance.

          Plaintiff Hester was, and putative Class members are, currently jailed solely

because they cannot afford to pay the amount required for their release by a bail

schedule. The only reason for their incarceration is because they cannot afford to

purchase their freedom.             Defendants do not make any inquiry or findings

concerning an arrestee’s ability to pay the secured money bail amount, or consider

non-financial alternative conditions of release when they determine whether an

arrestee should remain jailed. Instead, money is the determinative factor as to

whether a person remains in jail following arrest. If a person can pay the secured

money bail amount, she is released from jail immediately. But those—like Mr.


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    A Motion for Class Certification is being filed concurrently with this motion.
                                                   1
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Hester—who are unable to pay are jailed solely because of their poverty.

      As detailed in Plaintiff’s accompanying Memorandum, if a preliminary

injunction does not issue, Plaintiff and putative Class members will continue to be

jailed because of their poverty. Plaintiff is likely to prevail on the merits of his

claims that it violates the Fourteenth Amendment to jail arrestees solely because

they cannot afford to pay a monetary amount without first conducting an indigency

determination, considering non-financial conditions of release, and affording

arrestees adequate procedural safeguards. The threatened injury to Plaintiff and the

putative Class outweighs whatever damage a preliminary injunction may cause the

Defendants; and the injunction would not be adverse to the public interest.

      Plaintiff Hester is filing this Motion concurrently with Plaintiff’s Motion for

Class Certification of a Rule (b)(2) Class.

      For the foregoing reasons, and as set forth in the accompanying

Memorandum, this Motion for Preliminary Injunction should be granted.

Dated: March 12, 2018.           Respectfully submitted,

                                 /s/ Micah West
                                 Micah West
                                 On behalf of Attorneys for Plaintiff

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing was filed through the Court’s

CM/ECF filing system, and by virtue of this filing notice will be sent electronically

to all counsel of record, including:

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on this March 12, 2018.

                             /s/ Micah West
                             Micah West




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